        Case:18-10965-TBM Doc#:26 Filed:02/22/18                              Entered:02/22/18 22:41:01 Page1 of 4
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: reynoldsm                    Page 1 of 1                          Date Rcvd: Feb 20, 2018
                                      Form ID: 780                       Total Noticed: 11


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Feb 22, 2018.
db             +11380 SMITH RD LLC,    11380 Smith Road,    Aurora, CO 80010-1406
17895304       +11380 E. Smith Rd Investments, LLC,    Kresher Capital,    3050 Aventura Blvd., 3rd Floor,
                 Miami, FL 33180-3112
17895305    ++++DAVID LAIRD, ESQ.,    MOYE WHITE, LLP,    1400 16TH ST STE 600,    DENVER CO 80202-1486
               (address filed with court: David Laird, Esq.,      Moye White, LLP,    1400 16th Street, 6th Floor,
                 Denver, CO 80202)
17895306       +Henzel, Tim,   1510 Jade Road,    Columbia, MO 65201-1702
17895307       +Louis Hard,   7585 S. Biscay Street,     Aurora, CO 80016-1804
17896336       +Securities and Exchange Commission,    Central Regional Office,     1961 Stout St.,   Ste. 1700,
                 Denver CO 80294-1700

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
aty             E-mail/Text: jweinman@epitrustee.com Feb 21 2018 00:28:26        Jeffrey Weinman,   730 17th St.,
                 Ste. 240,   Denver, CO 80202
17896334       +EDI: CODEPREV.COM Feb 21 2018 00:13:00       Colorado Department Of Revenue,    1375 Sherman St.,
                 Room 504,   Attention Bankruptcy Unit,     Denver CO 80261-3000
17896335        EDI: IRS.COM Feb 21 2018 00:13:00      IRS,    PO Box 7346,   Philadelphia PA 19101-7346
17896337       +E-mail/Text: bankruptcynoticeschr@sec.gov Feb 21 2018 00:29:14
                 Securities and Exchange Commission,    Midwest Regional Office,     175 W. Jackson Blvd.,
                 Ste. 900,   Chicago IL 60604-2815
17895308        EDI: XCELENERGY.COM Feb 21 2018 00:13:00       Xcel Energy,   P.O. Box 9477,
                 Minneapolis, MN 55484-9477
                                                                                               TOTAL: 5

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
17895310*        +11380 E. Smith Rd Investments, LLC,    Kresher Capital,   3050 Aventura Blvd., 3rd Floor,
                   Miami, FL 33180-3112
17895311*     ++++DAVID LAIRD, ESQ.,    MOYE WHITE, LLP,   1400 16TH ST STE 600,    DENVER CO 80202-1486
                 (address filed with court: David Laird, Esq.,     Moye White, LLP,    1400 16th Street, 6th Floor,
                   Denver, CO 80202)
17895312*        +Henzel, Tim,   1510 Jade Road,    Columbia, MO 65201-1702
17895313*        +Louis Hard,   7585 S. Biscay Street,    Aurora, CO 80016-1804
17895314*         Xcel Energy,   P.O. Box 9477,    Minneapolis, MN 55484-9477
                                                                                                TOTALS: 0, * 5, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.

Addresses marked ’++++’ were corrected as required by the USPS Locatable Address Conversion System (LACS).


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Feb 22, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on February 20, 2018 at the address(es) listed below:
              Daniel J. Morse   on behalf of U.S. Trustee    US Trustee daniel.j.morse@usdoj.gov
              Jeffrey Weinman    on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner   on behalf of U.S. Trustee    US Trustee Samuel.Boughner@usdoj.gov
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 4
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Information to identify the case:
Debtor
                   11380 SMITH RD LLC                                                          EIN 46−4766309
                   Name


United States Bankruptcy Court District of Colorado
                                                                                               Date case filed for chapter 11 2/13/18
Case number: 18−10965−TBM


Official Form 309F (For Corporations or Partnerships)

Notice of Chapter 11 Bankruptcy Case                                                                                                                   12/17

For the debtor listed above, a case has been filed under chapter 11 of the Bankruptcy Code. An order for relief has
been entered.
This notice has important information about the case for creditors, debtors, and trustees, including information about
the meeting of creditors and deadlines. Read both pages carefully.
The filing of the case imposed an automatic stay against most collection activities. This means that creditors generally may not take action to collect debts
from the debtor or the debtor's property. For example, while the stay is in effect, creditors cannot sue, assert a deficiency, repossess property, or
otherwise try to collect from the debtor. Creditors cannot demand repayment from the debtor by mail, phone, or otherwise. Creditors who violate the stay
can be required to pay actual and punitive damages and attorney's fees.
Confirmation of a chapter 11 plan may result in a discharge of debt. A creditor who wants to have a particular debt excepted from discharge may be
required to file a complaint in the bankruptcy clerk's office within the deadline specified in this notice. (See line 11 below for more information.)
To protect your rights, consult an attorney. All documents filed in the case may be inspected at the bankruptcy clerk's office at the address listed below or
through PACER (Public Access to Court Electronic Records at www.pacer.gov).

The staff of the bankruptcy clerk's office cannot give legal advice.

Do not file this notice with any proof of claim or other filing in the case.



  1. Debtor's full name                       11380 SMITH RD LLC


  2. All other names used in the
     last 8 years


  3. Address                                  11380 Smith Road
                                              Aurora, CO 80010

                                              Jeffrey Weinman                                            Contact phone 303−572−1010
  4. Debtor's attorney                        730 17th St.
      Name and address                        Ste. 240                                                   Email ____________________
                                              Denver, CO 80202

  5. Bankruptcy clerk's office                                                                           Hours open Monday − Friday 8:00 AM −
      Documents in this case may be filed     US Bankruptcy Court                                        4:30 PM
      at this address.                        US Custom House
      You may inspect all records filed in
      this case at this office or online at   721 19th St.                                               Contact phone 720−904−7300
      www.pacer.gov.                          Denver, CO 80202−2508
                                                                                                         Date: 2/20/18

  6. Meeting of creditors                                                                                 Location:
      The debtor's representative must    March 23, 2018 at 01:00 PM
      attend the meeting to be questioned                                                                 Byron G. Rogers Federal Building,
      under oath.                         The meeting may be continued or adjourned to a later
      Creditors may attend, but are not   date. If so, the date will be on the court docket.
                                                                                                          1961 Stout Street, Suite 16−200,
      required to do so.                                                                                  Room C, Denver, CO 80294

                                                                                                           For more information, see page 2 >




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COB#780 b309f_11b
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Debtor 11380 SMITH RD LLC                                                                                                Case number 18−10965−TBM


  7. Proof of claim deadline                  Deadline for filing proof of claim: Not yet set. If a deadline is set, the court will send
                                              you another notice.

                                              A proof of claim is a signed statement describing a creditor's claim. A proof of claim form may be obtained
                                              at www.uscourts.gov or any bankruptcy clerk's office.

                                              Your claim will be allowed in the amount scheduled unless:

                                                      • you
                                                        your claim is designated as disputed, contingent, or unliquidated;
                                                      • you file a proof of claim in a different amount; or
                                                      •     receive another notice.

                                              If your claim is not scheduled or if your claim is designated as disputed, contingent, or unliquidated, you
                                              must file a proof of claim or you might not be paid on your claim and you might be unable to vote on a plan.
                                              You may file a proof of claim even if your claim is scheduled.

                                              You may review the schedules at the bankruptcy clerk's office or online at www.pacer.gov.

                                              Secured creditors retain rights in their collateral regardless of whether they file a proof of claim. Filing a
                                              proof of claim submits a creditor to the jurisdiction of the bankruptcy court, with consequences a lawyer can
                                              explain. For example, a secured creditor who files a proof of claim may surrender important nonmonetary
                                              rights, including the right to a jury trial.


  8. Exception to discharge                   If § 523(c) applies to your claim and you seek to have it excepted from discharge, you must start a judicial
     deadline                                 proceeding by filing a complaint by the deadline stated below.
      The bankruptcy clerk's office must
      receive a complaint and any required
      filing fee by the following deadline.   Deadline for filing the complaint:


                                              If you are a creditor receiving notice mailed to a foreign address, you may file a motion asking the court to
  9. Creditors
     address
               with a foreign                 extend the deadlines in this notice. Consult an attorney familiar with United States bankruptcy law if you
                                              have any questions about your rights in this case.


                                              Chapter 11 allows debtors to reorganize or liquidate according to a plan. A plan is not effective unless the
                                              court confirms it. You may receive a copy of the plan and a disclosure statement telling you about the plan,
  10. Filing a Chapter 11
      bankruptcy case
                                              and you may have the opportunity to vote on the plan. You will receive notice of the date of the confirmation
                                              hearing, and you may object to confirmation of the plan and attend the confirmation hearing. Unless a
                                              trustee is serving, the debtor will remain in possession of the property and may continue to operate its
                                              business.


                                              Confirmation of a chapter 11 plan may result in a discharge of debts, which may include all or part of your
                                              debt. See 11 U.S.C. § 1141(d). A discharge means that creditors may never try to collect the debt from the
  11. Discharge of debts                      debtor except as provided in the plan. If you want to have a particular debt owed to you excepted from the
                                              discharge and 11 U.S.C. § 523(c) applies to your claim, you must start a judicial proceeding by filing a
                                              complaint and paying the filing fee in the bankruptcy clerk's office by the deadline.




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